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Attomeys for Plaintiffs

IN TI~IE UNlTED STATES DISTRICT COURT
FOR 'I`HE DISTRlCT OF lDAHO

 

ROBERT TAYLOR and VERONICA J.
TAYLOR, husband and wife,

Plaintiffs,

VS.

NATIONAL UNION FIRE INSURANCE
COMPANY OF PITTSBURG[~I, PA, a
foreign corporation, LOTSOLUTIONS, INC.,
a foreign corporation, AIG CLAIMS, INC., a
foreign corporation, formerly known as
CHARTlS CLAIMS, INC., WELLS FARGO
BANK, N.A., a foreign corporation, and
JOI-IN DOES l through X, and BUSINESS
ENTITY DOES l through X,

Defendants.

 

Case No. 4:14~cv-00079-BLW

SECOND AMENDED COMPLAINT
AND DEMAND FOR JURY TRIAL

 

COME NOW, the Plaintiffs, by and through their attorneys of record, and complain and

allege as follows:

PARTIES

I. At all times material hereto Robert Taylor and Veronica Taylor resided in the City

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of Idaho Falls, County of Bonneville, ldaho.

2. At all times material hereto, Defendant National Union Fire Insurance Company
of Pittsburgh, PA. (hereinafter “National”) has been and now is an insurance company domiciled
in Pennsylvania, which was registered and did solicit and s_ell insurance in the State of ldaho.

3. At all times material hereto, Defendant LotSolutions, Inc., (hereinafter “LOTS”)
has been and now is a Georgia corporation which was registered to do business in the State of
ldaho and, as alleged below, has engaged in the transaction of its business in the State of Idaho.

4. At all times material hereto, Defendant AIG Claims, lnc., (hereinafter AIG)
formerly known as Chartis Claims, Inc.. has been and now is a Delaware corporation which was
registered to do business in the State of Idaho, and, as alleged below. has engaged in the
transaction of its business in the State of Idaho. AlG is the successor in interest to Chartis
Claims, Inc.

5. At all times material hereto, Defendant Wells Fargo Bank, N.A., has been and
now is a national banking association Which Was registered to do business in the State of ldaho,
and, as alleged below, has engaged in the transaction of its business in the State of ldaho.

6. The true names and capacities, whether individual, corporate, associate, or
otherwise of Defendants Does I through X, and Business Entity Does I through X, are unknown
to Plaintiffs at this time. Plaintiffs sue those Defendants by such fictitious names and will amend
this Complaint to show their true names and capacities when they have been ascertained.
Plaintif`fs are informed and believe, and on the basis of such information and belief alleges, that
each of the Defendants designated as a Doe is negligently or otherwise legally responsible for the
events and happenings referred to in this Complaint, and negligently or otherwise unlawfully
caused the injuries and damages to the Plaintiffs alleged in this Complaint.

7. The professional and business relationships_of Defendants to one another are not

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known to Plaintiffs at this time.
FACTUAL CONTENT

8. Plaintiff Veronica .I. Taylor acquired five different Blanket Accident Insurance
Policies with National which were marketed to her through Wells Fargo Bank, N.A. (Wells
Fargo). When Plaintiff Veronica J. Taylor made banking inquiries over the phone, the
Defendant’s representatives would then market the policies over the phone. This occurred on
multiple occasions, the exact dates of Which are not known. Defendant Wells Fargo has records
of the dates of the calls. The identity of the sales agents is not known. lt was represented to
Plaintiff that they Were employees of Wells Fargo who were making these offers to Wells Fargo
customers The Wells Fargo agents represented that these policies were offered to her because
she was a valued customer to the bank. Each time after the first policy was purchased, the Wells
Fargo agents represented that the policies would provide coverage in addition to the previously-
purchased policy or policies. The effective dates of the policies are October 21, 2008, November
19, 2008, January 2, 2009, March 15, 2009 and November_30, 2009.

9. The policies were issued in association with Plaintiffs’ Wells Fargo checking
account. Plaintiff Veronica J. Tay|or was told that she was being offered these policies because
of her status as an account holder at the bank. The premiums were withdrawn directly from her
checking account.

10. The policies at issue in this case are identified as Policy # 48161 172, # 4816| 173,
#48432007 and # 493 82486, (hereinafter “the policies”) and which provided, in the event of an
accident, disability and.-“or various medical treatments, for insurance coverage.

l l. Plaintiffs also secured another policy, #`48193798, which does not appear to be
implicated in this case at this time.

12. Wells Fargo told the Plaintiffs that each new policy purchased would provide

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additional coverage to that provided by the previously-purchased policies. Additionally, when
selling the policies to the Plaintiffs, the agents failed to disclose limitations contained in the
policies. Idaho lnsurance Regulation 18.01.24 requires that all limitations of a disability policy
be disclosed at the time of the sale. The limitations and exclusions contained in the disability
policies were not disclosed during the sale of those policies. lnstead, each sale was accompanied
with representations that the additional policy would provide additional coverage beyond what
was in the policies purchased previously. With each sale, the Wells Fargo agents represented that
the policies would provide benefits, including total disability benefits, in the event of an
accidentalloss

13. Plaintiffs monthly premiums were regularly charged to her Wells Fargo Bank
checking account. Plaintiff Was current on her premiums at all relevant times hereto.

14. On August 12, 2011. Veronica J. Taylor fell in her yard injuring her knees. On
September 4, 2011, she accidentally choked on a pill. On November 16, 201 i. Veronica Taylor
tripped and violently fell and suffered a stroke as a result of the impact of the fall. The accident-
related stroke caused hemiplegia and left her permanently disabled and unable to engage in her
usual activities or the usual activities of a similar person in_ similar health prior to the loss. On
June 29, 2012, Veronica Taylor suffered injuries to her feet. ankles and knees when her power
chair malfunctioned. Each of these incidents were accidents as defined in the policies for which
coverage applied.

15. Plaintiff Veronica J. Taylor filed claims with National for benefits pursuant to the
policies following each of her accidents. Following the filing of each of these claims, Plaintiff
was contacted by LOTS and AIG, and thereafter communicated With LOTS and.for AlG
regarding the adjustment of the claims. The LOTS and AlG employees who communicated with

Plaintiffs stated that they were handling the claims for Defendant National.

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16. On information and belief Plaintiffs allege that LOTS. through agency, contract,
or agreement with National, directs, handles, administers and adjusts insurance claims submitted
by policyholders of National.

17. On information and belief Plaintiffs allege that AIG, through agency, contract, or
agreement with National, directs, handles and processes insurance claims submitted by
policyholders of National.

18. On multiple occasions LOTS and AlG requested documents and records and on
each occasion these documents were obtained by Plaintiffs and supplied to LOTS by them or at
their request. Oi`ten LOTS and AIG Would request the same documents that had already been
submitted. or that Plaintiffs had authorized LOTS and AIG to obtain. The claims would never be
assigned to a single claims adjuster who was responsible for handling the claims or answering
questions.

l9. LOTS made its last request for records on December 6, 2012.

20. Neither LOTS nor AlG has made any further requests for records and has not sent
any other written communication to Plaintiffs since July 3, 2013.

21. National has not made payment for at least 22,118.000.00 in coverage available
under the various policies. The disability claims were assigned claim numbers 95815333,
95860828, 95841324, 95815334, and 95815358. Many other claims for benefits under these four
policies have been denied or unreasonably delayed. A $2,000,000 total disability claim was
denied under policy number 4816]173 on February 21, 2012. The denial was communicated by
way of a form letter that gave only the following reason for the denial: “Sickness, disease, mental
incapacity or bodily infirmity is not covered under this policy.” A $100,000 total disability claim
was denied under policy number 48161172 on February 21 , 2012. The denial was communicated

by way of a form letter that gave only the following reason for the denial: “Sickness, disease,

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mental incapacity or bodily infirmity is not covered under this policy." The letters did not state
what information had been reviewed or what facts were relied on in denying the claim. The
letters did not cite to any policy provisions that formed the basis for the denials. Both letters were
signed by “Claims Department,” and did not contain a phone number. This made communication
regarding these claims very difficult.

22. Defendants National, LOTS and AlG intentionally denied the Plaintiffs’ disability
claims. The denials were totally unjustified as Plaintiff Veronica J. Taylor’s accidental fall
caused the hemiplegia and resulting total disability, thus meeting the necessary requirements for
payment under the policies. The specific grounds for the denials of coverage have never been
fully set forth in writing. There was no fair debate as to whether the claim should have been paid
as Defendants" National, LOTS, and AIG were in possession of Plaintiffs medical records and
all other necessary documents to pay the claim. National, LOTS. and AIG denied the disability
claims with full knowledge of the Plaintiff’s medical condition and the cause of the loss.
Therefore, the denial was not the result of a good faith mistake.

23. The denial of the claims has left the Plaintiffs financially devastated. Plaintiff
Veronica J. Taylor has been unable to work and has incurred substantial amounts of medical
bills. She counted on the insurance to be there when she needed it. Plaintiff Robert Taylor has
had to care for his spouse, which has made it difficult for him to engage in other employment.
The denials of the benefits the Plaintiffs paid for caused them great distress, worry, anxiousness,
mental anguish, and loss of sleep. Plaintiffs have felt abandoned by the company they counted on
to protect them in the event of a catastrophe such as the hemiplegia. The Plaintiffs purchased
these policies for protection and peace of mind. National, LOTS, and AIG’s unjustified denials
have robbed Plaintiffs of the peace and security they had believed they purchased

24. lt is believed that the following claims for other coverage were wrongfully denied

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or mishandled because LOTS and AlG did not actively investigate the claims and closed them
without notifying the insured or providing the insured with any updates regarding the status of
the claims: 95811259, 95865761, 96015494, 96015495, 95841322, 95777944, 95794590,
95794589, 95794588, 95794587, 96015496, 9600l905, 96001904, 96033344, 96015491,
96015492, 95842486, 95794585, 95794586, 96015493, 95841 321, 95812366, 95813326,
96015498, 95794594, 95777951, 95777950, 95777949, 95777948, 95777947, 95794595,
95794593, 96015499, 9579459l, 9584l323, 96015497, 9600l907, 96001906, 96033345,
95842488, 96015501, 95783105, 95777958, 95777957, 96014407, 95831883, 95830973,
95353603, 95777958._ 95777957, 96014407, 95831883, 96830973, 95353603, 95843673,
96015503, 96015502, 96001915, 95871372, 95871371, 95860834, 95783106, 95390922,
96033359, 96015505. 96015504, 96019116, 96015625, 96015626, 95845183, 95778183,
95778l85, 95778184, 96015627. 95861030, 95813442, 95871599, 95871598, 95871597,
96002087, 96002086, 96033509, 95832050, 95832049, 95845182, 95841468, 95845182,
96015529, 96015530, 96015531, 95841349, 95831914, 95_841350, 95831915.

Plaintiffs are unable to state whether this is an exhaustive list because LOTS’ and AIG’s
adjusting procedures are confusing and cause insureds to be uninformed of the status of their
claims. AIG and/or LOTS then close claims after 90 days of inactivity from an insured without
notice of the closure. The policy benefits of these claims amount to at least $18,000.

25. There is no valid basis for a denial of coverage for these claims nor is there any
fairly debatable basis for a denial of coverage because National, LOTS, and AIG failed to
appropriately investigate and actively adjust these claims. The delay and or denial of these
claims is unreasonable and intentional as National, LOTS, and AlG implemented substandard
adjusting procedures that led to these claims being closed without being fully adjusted by the

companies

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26. LOTS and AlG employees are trained to handle claims in the manner in which
they handled the Plaintiffs’ claims. Defendants have established these confusing adjusting
procedures as the manner in which claims should be adjusted. Because the employees were
handling the claims in the manner in which they had been trained, the denials and delays were
not the result of a good faith mistake. These adjusting practices are designed to create several
tiers of adjusters responsible for claims decision making. Because National has delegated the
decision making and adjusting responsibilities to LOTS and AlG, claims will often get denied or
closed without full adjusting and without National having'involvement in the claim or
knowledge that the claim had been submitted. These procedures are designed to create a high
attrition of claims and deliberately make the claims process difficult policyholders to navigate.

27. National, LOTS, and AIG have all conspired to create these adjusting procedures
to minimize claims payouts and achieve high attrition of claims. Because of their civil
conspiracy_ each of these defendants can be responsible for the claims alleged below.

28. Plaintiffs have provided all of the information and release forms which were
requested by National or LOTS or AIG and have provided proofs of loss pursuant to Idaho Code
§ 41 -1 839 which were sufficient to permit National, LOTS and AlG to evaluate the claims and
reach a decision relative to the claim.

29. More than 30 days has passed since Plaintiffs provided qualifying proofs of loss
to National, LOTS and AIG and no payments have been made upon the policy.

COUNT ONE - BREACH OF CONTRACT
(Defendants National, LOTS, and AIG)

30. Plaintiffs reallege the allegations contained-in each and every paragraph herein

above.

31. All conditions precedent to cause National to be liable to pay benefits pursuant to

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the policies have been performed or have occurred including timely payment of all premiums,
properly filing a proof of claim and supporting documents -with National through its agents,
LOTS and AlG.

32. A $2,000,000 total disability claim was denied under policy number 48161 173 on
February Zl, 20l 2. The denial was communicated by way lof a form letter that gave only the
following reason for the denial: “Sickness, disease, mental incapacity or bodily infirmity is not
covered under this policy.” A $100,000 total disability claim was denied under policy number
48161 172 on February 2l, 20l2. The denial was communicated by way of a form letter that gave
only the following reason for the denial: “Sickness, disease, mental incapacity or bodily infirmity
is not covered under this policy.”

33. National’s failure or refusal to pay benefits under the policy Was unjustified and
amounted to a breach of contract because the disability was caused by an accidental fall, not
Sickness, disease, mental incapacity or bodily infirmity.

34. The claims identified in Paragraph 24 were properly submitted and owing under
the policy, but National has refused andfor delayed payment through its agents LOTS and AIG.
The denial of these claims amounts to a breach of contract.l

35. National’s breach of the contract for accident insurance caused Plaintiffs to suffer
damages and financial hardship.

36. Plaintiffs are entitled to an award of the benefits of the policies, and such other
damages as may be proven at trial.

37. National, LOTS, and AIG have all conspired to create these adjusting procedures
to minimize claims payouts and achieve high attrition of claims. Because of their civil

conspiracy. each of these defendants are responsible for the breach of contract.

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COUNT TWO » BAD FAITI-I
(Defendants National, LOTS, and AIG)

38. Plaintiffs reallege the allegations contained in each and every paragraph herein
above.

39. All conditions precedent to cause National to be liable to pay benefits pursuant to
the policies have been performed or have occurred including timely payment of all premiums,
and properly filing proofs of claim and supporting documents with National through its agents,
LOTS and AIG.

40. Defendants National, LOTS and AIG, intentionally denied the Plaintiffs’
disability claims. The denials were totally unjustified as Plaintiff Veronica J. Taylor’s accidental
fall caused the hemiplegia. The specific grounds for the denials of coverage have never been
fully set forth in writing. There was no fair debate as to whether the claim should have been paid
as Defendants" National_. LOTS, and AIG were in possession of Plaintiff"s medical records and
all other necessary documents to pay the claim. National, LOTS, and AlG denied the disability
claims with full knowledge of the Plaintiffs medical condition and the cause of the loss.
Therefore, the denial was not the result of a good faith mis-take.

41 . The denial of the claims has left the Plaintiffs financially devastated. Plaintiff
Veronica J. Taylor has been unable to work and has incurred substantial amounts of medical
bills. She counted on the insurance to be there. The denials of the benefits the Plaintiffs paid for
caused them great distress, worry, anxiousness, mental anguish, and loss of sleep. Plaintiffs have
felt abandoned by the company they counted on to protect them in the event of a catastrophe
such as the hemiplegia. The Plaintiffs purchased these policies for protection and peace of mind.
National, LOTS_. and AlG’S unjustified denials have robbed Plaintiffs of the peace and security
they had believed they purchased

42. lnstitutional bad faith is a corporate philosophy, implemented in a series of

SECOND AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL - l0

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procedures that emphasizes minimizing insurance claims to the detriment of policyholders
National, LOTS and AlG engaged in institutional bad faith by creating procedures that deter
claims. 'I`he procedures include sending multiple requests for the same documents, creating
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questions about a claim. These procedures also include closing a claim without advising the
insured or actively investigating the claim. National, through LOTS, would send denial letters
that did not include a clear explanation for the denial, the facts or information relied on for the
denial, or even provide an adjuster’s name or information so that the insured has someone they
can contact for guidance on the claim. These procedures deterred the Plaintiff’s from making
claims, getting accurate information about their claims, or receiving benefits they were entitled
to under the policy because the entire process was difficult for the insureds to navigate. National,
LOTS, and AlG deliberately created these claims handling procedures in an effort to deter claims
and minimize claims payouts. Using the procedures to deter the Plaintiffs’ claims and payout on
those claims amounts to bad faith.

43. There is no valid basis for a denial of coverage for the claims identified in
paragraph 24 nor is there any fairly debatable basis for a denial of coverage because National,
LOTS, and AlG failed to appropriately investigate and actively adjust these claims. The delay
and or denial of these claims is unreasonable and intentional as National, LOTS, and AIG
implemented substandard adjusting procedures that led to these claims being closed without
being fully adjusted by the companies

44. National’s failure or refusal to pay benefits due under the policies and.ior the
complete failure of either National or LOTS or AIG to provide a complete written denial, to
provide any lawful basis for a denial of the claims for benefits and to adjust the manner in
conformance with applicable statutes and regulations are totally unjustified conduct which

amounts to an extreme deviation from the standards of the industry.

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45. The conduct of National and/or LOTS andfor AIG constitute, under the
circumstances to the tort of bad faith. Each of these defendants was an active participant in the
conduct amounting to bad faith.

46. Plaintiffs also believe that the practices utilized by National. LOTS and AlG are
designed to deprive National’s insureds, such as Plaintiffs,-of the benefits owed pursuant to the
policy; such practices amount to the tort of bad faith.

47. Defendants’ failure to act in good faith prosimately caused Plaintiffs to suffer
damages beyond the amount of the policy benefits. 'I`hese damages include the aforementioned
financial devastation, mental anguish, stress, sleepless nights, and emotional distress resulting
from their claims not being paid following the accidental losses.

48. Plaintiffs are entitled to an award of general and special damages as may be
proven at trial.

49. National, LOTS, and AIG have all conspired to create these adjusting procedures
to minimize claims payouts and achieve high attrition of claims. Because of their civil
conspiracy, each of these defendants are responsible for the bead faith.

CoUNTTHREE-FRAUD

(Defendants Wells Fargo and National)

50. Plaintiffs reallege the allegations contained in each and every paragraph
hereinabove
51 . Defendants National and Wells Fargo engaged in conduct designed to deceive

Plaintiffs into purchasing policies that Defendants knew would not pay the benefits as promised.
This was accomplished by Wells Fargo representatives telling the Plaintiffs that these policies
would provide coverage for these losses. Specifically, the Wells Fargo agents stated that the

policies would provide coverage in the event of an accident. Additionally, with each additional

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policy purchased, Plaintiffs were told that they would receive coverage in excess of that which
they already had though the prior purchases These representations were made at the time of each
of the Plaintiffs phone calls to inquire about her accounts._ Wells Fargo has records of these calls
with the act date, time, and the names of the Wells Fargo representatives making the
representations These representations were false because the policies have not covered these
losses or provided excess coverage. ln actuality the policies contain high, unobtainable limits
that cannot be reached because of the aforementioned adjusting practices implemented by
National, LOTS, and AIG. Wells Fargo was aware that the policies would not pay as promised
when the policies were being sold.

52. Plaintiffs relied on Defendants Wells Fargo’s representations that these polices
would provide coverage in the event of a loss. Believing what Defendant Wells Fargo told them
regarding the policies. Plaintiffs purchased each of the aforementioned policies and authorized
premiums to be withdrawn from their bank account.

53. Defendant National was an active participant in the fraud as it authorized Wells
Fargo to market the policies in this manner and the company benefited from the sale of the
policies. National was fully aware of the marketing procures used and the representations being
made regarding its policies National knew that key information regarding the policies like the
limitations and exclusions was not being disclosed to the insured at the time of purchase.

54. Because National, AIG, and LOTS’ adjusting practices (stated previously in this
complaint) were designed to frustrate and prevent the Flaintiff`s’ attempts to provide conforming
proof of loss and to deny policies on wholly inadequate and unjustified grounds, Defendant
National never intended to pay the benefits as promised under the contract and when the polices
were sold to the Plaintiffs.

55. Idaho lnsurance Regulation 18.01.24 requires that all limitations of a disability

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policy be disclosed at the time of the sale. The limitations and exclusions contained in the
disability policies were not disclosed during the sale of those policies. Instead, each sale was
accompanied with representations that the additional policy would provide additional coverage
beyond what was in the policies purchased previously. These actions constitute fraud and fraud
by silence. Such fraud proximately caused Plaintiffs to suffer damages because the policies did
not pay the benefits as promised when the Wells Fargo agents sold the policies.

56. Plaintiffs are entitled to an award of damages, both special and general, in an
amount to be proven at trial. The damages include their policy benefits that would have been
paid had the claims had been paid as promised. general damages for the mental anguish and
emotional distress, attorneys fees and other damages to be proven at trial.

57. Wells Fargo and National have conspired to sell these policies and collect
premium with full knowledge that the policies would not pay according the representations that
were made. Because of their civil conspiracy, each of these defendants can be responsible for
the fraud.

COUNT FOUR - lNTENTIONAL INFLICTION-OF EMOTIONAL DISTRESS
(All Defendants)

58. Plaintiffs reallege the allegations contained _in each and every paragraph
hereinabove.

59. Considering the aforementioned conduct, and the duty imposed by law that an
insurer act fairly and in good faith at all times when it is processing the claims of policy
beneficiaries, Defendants National, LOTS, and AIG’s aforementioned actions in refusing to pay
Flaintiffs’ legitimate claims are extreme and outrageous. The intentional and unreasonable
denial of claims was outrageous and amount to an extreme deviation from industry standards.

The adjusting practices were designed to delay and frustrate the insureds in an effort minimize

SECOND AMENDED COMPLAINT AND DEMAND FOR JUR\" TRIAL -14

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and deter claims and payments

60. Defendants by fraudulently marketing these policies and refusing to pay
Plaintiffs’ legitimate claims, acted intentionally andror with reckless disregard of the probability
that a reasonable person would suffer severe emotional distress under these circumstances

61. As a direct and approximate result of Defendants’ extreme and outrageous
conduct or their intentional denial of claims and fraudulent conduct, Plaintiffs did suffer severe
emotional distress in the form of worry, anxiousness, mental anguish, and loss of sleep. 'l`hey
have suffered financial distress as a result of their claims not being paid. Plaintiffs have felt
abandoned by the company they counted on to protect them in the event of a catastrophe Such as
the hemiplegia. The Plaintiffs purchased these policies for protection and peace of mind.
National, LOTS, and AIG’s unjustified denials have robbed Plaintiffs of the peace and security
they had believed they purchased The fraudulent marketing of these policies has put them in a
position of paying for security, but having that security disappear when they suffered this
catastrophic loss. As a result of their severe emotional distress caused by each defendant._
Plaintiffs` are entitled to compensation for such injury in an amount to be proven at trial.

62. All Defendants have conspired to profit from the fraudulent and outrageous
conduct. Because of their civil conspiracy, each of these defendants can be responsible for the
intentional infliction of emotional distress upon the Plaintiffs

COUNT FlVE - ATTORNEY FEES
(All Defendants)

63. Plaintiffs reallege the allegations contained in each and every paragraph
hereinabove

64. As a result of Defendants’ conduct, Plaintiffs have hired the law firm of Pedersen

and Whitehead to prosecute this action.

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65. Plaintiffs are entitled to reasonable attomey` fees under ldaho Code § 12-121 and

§ 4l-1839 relating to attorney fees and suits against insurers
DAMAGES

66. As a proximate andfor producing result of ljefendants’ bad faith conduct and
National’s breach of contract, Plaintiffs have suffered substantial damages including special
damages, general damages consequential damages, attorney fees and the costs incident to
prosecuting this action, all in an amount to be proven at trial.

67. Considering each of these elements of damage, Plaintiffs have suffered damages
in excess of thejurisdiction requirements of this Court.

68. Flaintif`fs respectfully request that ajury determine the amount of losses Plaintiffs
have incurred in the past and Will incur in the future financial hardship which would have been
avoided by proper performance under the contract of insurance This hardship has put needless
and avoidable stress upon Plaintiffs and caused them financial damages anguish and suffering

PRAYER
WHEREFORE, Plaintiffs pray forjudgment in their favor and against Defendants fort
l. Upon all counts against Defendants jointly and severally, for special and general

damages in an amount in excess of thejurisdictional limits of this Court;

2. For reasonable attomey`s fees and costs herein;

3. For costs of suit incurred herein; and

4. For such other and further relief as the Court may deem proper.
DEMAND FOR JURY TRIAL

Plaintiff hereby demands trial by ajury of at least twelve (12) members on all issues in

the above-entitled matter.

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DATED this 26th day of November, 2014.

PEDERSEN and WHITEI~IEAD

By /s/ Brian J. Hilverda
Brian J. Hilverda, lSB #7952
Attomey for Plaintiffs

CERTIFICATE OF SERV]CE

l hereby certify that on the 26th day ofNovember, 2014, l served a copy of the foregoing
SECOND AMENDED COMFLAINT AND DEMAND FOR JURY TRIAL, on CM-'ZECF
Registered Participants as reflected on the Notice of Electronic Filing as follows:

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